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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA



TROY LAMONT MOORE, SR.,                :     CIVIL ACTION
                                       :     NO. 14-3873
           Plaintiff,                  :
                                       :
    v.                                 :
                                       :
LOUIS GIORLA, et al.,                  :
                                       :
           Defendants.                 :




                         M E M O R A N D U M


EDUARDO C. ROBRENO, J.                             December 17, 2015



           Plaintiff Troy Lamont Moore, Sr., a Pennsylvania state

prisoner, brings this pro se action under 42 U.S.C. § 1983

against prison officials. He alleges that he was prohibited from

leaving his cell for a night even though his toilet had

overflowed. Accordingly, he was exposed to raw sewage for a

number of hours. He further alleges that when he was permitted

to visit the medical department, he received constitutionally

deficient treatment. Defendants and Plaintiff have filed cross-

motions for summary judgment. For the reasons that follow, the

Court will deny Plaintiff’s motion and grant Defendants’

motions.
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I.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY1

          Plaintiff is a prisoner at State Correctional

Institution – Forest in Marienville, Pennsylvania. Previously,

he was imprisoned at the Philadelphia Industrial Correctional

Center (“PICC”). He alleges that on September 16, 2013, while at

PICC, the toilet in his cell overflowed repeatedly – and despite

Plaintiff’s requests, Correctional Officer Walden did not let

Plaintiff out of that cell for at least eight hours, leaving him

surrounded by raw sewage during that time. Compl. at 3. As a

result of breathing in the sewage for hours, Plaintiff states,

he developed shortness of breath, chest pains, and vomiting. Id.

Eventually, Plaintiff was permitted to go to PICC’s medical

department, where RN Margaret McGrogan attended to him. Id. She

measured his vital signs and blood oxygenation and gave him

medication for diarrhea. Statement of Uncontested Facts of Def.


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          At a telephone conference set up to determine the
discovery Plaintiff needed in order to respond to Defendants’
motions for summary judgment, Plaintiff requested video footage
of the incident in question, as well as the repair records for
his cell. Counsel for Defendants Giorla and Martin – the prison
defendants – stated that he could produce the cell repair
reports, as well as Plaintiff’s medical records, but that the
video footage no longer existed. Telephone Telephone Conference
Tr. 3:22-7:10, Apr. 6, 2015, ECF No. 39.

          For the purposes of summary judgment, the central
facts – that Plaintiff’s toilet overflowed, exposing him to raw
sewage for a number of hours and resulting in temporary physical
side effects – appear to be undisputed. As a result, it is
irrelevant that the video of these events is unavailable,
because Defendants do not dispute its contents.

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McGrogan, Ex. B at 13, ECF No. 24-3.

           On June 26, 2014, after exhausting his administrative

remedies, Plaintiff filed a complaint against Philadelphia

Prison Commissioner Louis Giorla, Major Claudette Martin,

Correctional Officer Walden, Nurse McGrogan, and another unnamed

nurse under 42 U.S.C. § 1983. ECF No. 3. After filing answers

and conducting discovery, all parties (except Officer Walden,

who has not yet been identified and served) filed motions for

summary judgment. ECF Nos. 21, 24, 38. Those motions are now

ripe for disposition.


II.   LEGAL STANDARD

           Summary judgment is appropriate if there is no genuine

dispute as to any material fact and the moving party is entitled

to judgment as a matter of law. Fed. R. Civ. P. 56(a). “A motion

for summary judgment will not be defeated by ‘the mere

existence’ of some disputed facts, but will be denied when there

is a genuine issue of material fact.” Am. Eagle Outfitters v.

Lyle & Scott Ltd., 584 F.3d 575, 581 (3d Cir. 2009) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)). A

fact is “material” if proof of its existence or nonexistence

might affect the outcome of the litigation, and a dispute is

“genuine” if “the evidence is such that a reasonable jury could




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return a verdict for the nonmoving party.” Anderson, 477 U.S. at

248.

           The Court will view the facts in the light most

favorable to the nonmoving party. “After making all reasonable

inferences in the nonmoving party’s favor, there is a genuine

issue of material fact if a reasonable jury could find for the

nonmoving party.” Pignataro v. Port Auth., 593 F.3d 265, 268 (3d

Cir. 2010). While the moving party bears the initial burden of

showing the absence of a genuine issue of material fact, meeting

this obligation shifts the burden to the nonmoving party who

must “set forth specific facts showing that there is a genuine

issue for trial.” Anderson, 477 U.S. at 250.

           The guidelines governing summary judgment are

identical when addressing cross-motions for summary judgment.

See Lawrence v. City of Philadelphia, 527 F.3d 299, 310 (3d Cir.

2008). When confronted with cross-motions for summary judgment,

“[t]he court must rule on each party’s motion on an individual

and separate basis, determining, for each side, whether a

judgment may be entered in accordance with the Rule 56

standard.” Schlegel v. Life Ins. Co. of N. Am., 269 F. Supp. 2d

612, 615 n.1 (E.D. Pa. 2003) (alteration in original) (quoting

10A Charles A. Wright, Arthur R. Miller & Mary Kay Kane, Federal

Practice and Procedure § 2720 (3d ed. 1998)).



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III. DISCUSSION

    A.    Defendants Louis Giorla and Claudette Martin’s Motion
          for Summary Judgment

          Defendants Giorla and Martin argue that they are

entitled to summary judgment because they had no personal

involvement in the constitutional violations alleged here.

          It is well-established that state actors have no

vicarious liability under § 1983 for the actions of others. See

Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009) (“Because vicarious

liability is inapplicable to Bivens and § 1983 suits, a

plaintiff must plead that each Government-official defendant,

through the official’s own individual actions, has violated the

Constitution.”). That is, “[a] defendant in a civil rights

action must have personal involvement in the alleged wrongs.”

Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). His

liability “must be based on his own acts or omissions,” not

those of any other actor. Agresta v. City of Philadelphia, 801

F. Supp. 1464, 1468 (E.D. Pa. 1992).

          Here, there is no evidence that either Giorla or

Martin caused Plaintiff’s toilet to overflow, prevented him from

leaving his cell (thus exposing him to fecal matter), or caused

him to receive inadequate medical treatment. Rather, Plaintiff

first discussed the overflow incident with Giorla and Martin

roughly three or four days and two or three weeks, respectively,


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after the incident occurred. See Moore Dep. 33:8-11, 36:23-37:5,

Jan. 16, 2015, ECF No. 21-1. There are no allegations – much

less any evidence – that they had any involvement in the

underlying events. Plaintiff’s only remaining arguments about

the actual conduct of Giorla and Martin concern their failures

to appear for depositions in this matter – which are relevant to

Plaintiff’s Motion for Sanctions (discussed below), not to the

constitutional claims in his Complaint.

          Accordingly, Giorla and Martin have demonstrated that

there is no genuine issue of material fact as to their role – or

lack thereof – in the incident alleged in this case, and that

they are therefore entitled to judgment as a matter of law.


    B.    Defendant Margaret McGrogan’s Motion for Summary
          Judgment

          McGrogan argues that she is entitled to summary

judgment because Plaintiff has presented no evidence of

deliberate indifference on her part.

          To sustain a claim of constitutionally infirm medical

treatment, a prisoner must demonstrate that the relevant prison

officials acted with deliberate indifference to serious medical

needs. Estelle v. Gamble, 429 U.S. 97, 104 (1976). In order to

prove deliberate indifference, the prisoner must show that “the

official kn[ew] of and disregard[ed] an excessive risk to inmate

health or safety.” Farmer v. Brennan, 511 U.S. 825, 837 (1994).

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Moreover, the official must both have been “aware of facts from

which the inference could [have been] drawn that a substantial

risk of serious harm exist[ed], and he must also [have drawn]

the inference.” Id. To survive summary judgment, then, Plaintiff

must show that there is a genuine issue of material fact as to

whether McGrogan knew that Plaintiff was at risk of serious harm

and acted with disregard to that risk.

          Plaintiff has failed to demonstrate as much here.

Specifically, even viewing the facts in the light most favorable

to the Plaintiff – that is, assuming that he was experiencing

chest pains, shortness of breath, and vomiting, Plaintiff has

presented no evidence from which a jury could infer that he was

facing a substantial risk of serious harm when he visited the

medical department, much less that McGrogan was aware such a

risk existed and chose to ignore it. To the contrary, McGrogan’s

notes of treatment indicate that she took Plaintiff’s blood

pressure, pulse, and respiratory rate, all of which were within

normal range. See McGrogan Mot. Summ. J. 7, ECF No. 24; id. Ex.

B at 13, ECF No. 24-3. Moreover, McGrogan’s affidavit indicates

that she believed the care she gave to Plaintiff – which

included giving him medication for his diarrhea – was

appropriate for his symptoms. Id. Ex. G ¶ 4, ECF No. 24-8. From

this evidence, no reasonable jury could infer that McGrogan was

deliberately indifferent in her treatment of Plaintiff.

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          Plaintiff alleges that he requested a dose of

nitroglycerine, which was denied – and he argues that this

denial is evidence of deliberate indifference. But to prevail on

this argument, Plaintiff would need to show that he was at

substantial risk of serious harm without nitroglycerine, and

that McGrogan knew that and still chose not to provide it. He

has not done so. The mere fact that his request was denied does

not establish deliberate indifference. McGrogan believed that

“there was no reason to provide him with any other medication in

light of his examination, medical findings and clinical

presentation,” id. ¶ 6, and Plaintiff has not identified the

risk that he faced in the absence of nitroglycerine.

          Therefore, McGrogan has successfully shown that there

is no genuine issue of material fact and that she is entitled to

judgment as a matter of law.


    C.    Plaintiff’s Motion for Summary Judgment

          Plaintiff moves for summary judgment as to his claims

against all four defendants.

          Because Plaintiff has not presented evidence upon

which a reasonable factfinder could find in his favor as to his

claims against Giorla, Martin, and McGrogan, he is not entitled

to judgment as a matter of law, and his motion for summary

judgment will be denied.


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           Defendant Walden has not yet been served, as the

prison has been unable to identify her. Telephone Conference Tr.

8:17-12:5, Dec. 3, 2014. Accordingly, the Court will dismiss the

claims against Walden without prejudice.


IV.   MOTION FOR SANCTIONS

           Plaintiff also filed a motion for sanctions against

Defendants Giorla, Martin, and McGrogan, due to their failure to

appear at depositions for which he had obtained subpoenas.

           The Court has held two telephone conferences in this

case. During the first, held on December 3, 2014, the Court

determined that after Defendants filed motions for summary

judgment, the Court would hold a second telephone conference, at

which time Plaintiff would identify his discovery needs for the

purposes of responding to any motions for summary judgment. See

Telephone Conference Tr. 6:5-8:5, Dec. 3, 2014. Thereafter,

Plaintiff obtained subpoenas for Defendants’ depositions, and

when Defendants failed to appear, he filed the motion for

sanctions. ECF No. 27.

           At the second telephone conference, held on April 6,

2015, the Court noted that the motion for sanctions was

premature because the Court had previously determined that

Plaintiff’s discovery needs would be identified during that

second conference. Telephone Conference Tr. 14:8-13, Apr. 6,



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2015. Accordingly, the Court will deny this motion.


V.   CONCLUSION

          For the foregoing reasons, the Court will grant

Defendants Giorla, Martin, and McGrogan’s motions for summary

judgment and enter judgment in their favor. The Court will also

deny Plaintiff’s motion for summary judgment as to those

defendants and dismiss his claims without prejudice as to

Walden. Finally, the Court will deny Plaintiff’s motion for

sanctions.




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